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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

ALPINE SECURITIES CORPORATION,
                                                    Case No. 2:21-CV-00683-DBB-JCB
           Plaintiff,

               v.
                                                    STIPULATED MOTION TO STAY CASE
UNITED STATES OF AMERICA,                           PENDING CONSIDERATON OF
                                                    SETTLEMENT OFFER
           Defendant/Counterclaimant.




       Plaintiff Alpine Securities Corporation (“Alpine”) and the United States of America

stipulate and respectfully move the Court to stay this matter pending the United States’

consideration of a written settlement offer made by Alpine. If the settlement is not accepted, the

parties will, on or before December 15, 2023, submit a status report or motion requesting dates

for the completion of discovery and filing of dispositive motions.

       The parties have completed significant amounts of written discovery in this matter and

have identified areas of contention on that written discovery. They have also identified potential

party and fact witnesses for depositions.
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       Through the course of discovery, the parties identified two issues they viewed as

dispositive or partially dispositive: First, the United States claims that the Court lacks subject

matter jurisdiction because Alpine did not pay a proper divisible portion of assessments at issue

in this matter, which Alpine disputes; and second, Alpine claims that the IRS assessments at

issue in this matter are invalid because they were procedurally improper and made with improper

notice to Alpine, which the United States disputes.

       To conserve time and resources on further discovery on the merits of the case, the parties

had requested that the Court allow them to brief the issues. (ECF No. 33.) Prior to briefing,

counsel for the Plaintiff received authority to make a formal written settlement offer to the

United States. On September 29, 2023, counsel for the Plaintiff sent a settlement offer to counsel

for the United States.

       Counsel for Alpine has thus far negotiated with the United States’ trial counsel, and any

recommendation regarding settlement by trial counsel for the United States may or may not be

accepted. The Department of Justice’s multi-layered review process takes a substantial amount

of time to complete and requires action by the appropriate delegate of the Attorney General.

Accordingly, for good cause, the parties request a two-month stay, until December 15, 2023, of

this matter for consideration and any further negotiation of the offer.

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       WHEREFORE, the parties so stipulate and request that the Court stay this matter and

enter the attached proposed order requiring the parties to submit a status report or motion on or

before December 15, 2023.


Dated: October 5, 2023                       Respectfully Submitted,


                                             /s/ Paul K. Savage
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